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                                 Case No.: 1:23−cv−00811−MHS



LARRY GOLDEN 1

     v.                                                     NOTICE OF NON−ECF CASE


THE UNITED STATES 2

    Pursuant to Appendix E of the Rules of the United States Court of Federal
Claims, because this case involves a pro se litigant, the case will not be designated
an electronic (ECF) case. Thus, all filings in this case must be made in paper form.
See Appendix E ¶ 3 and RCFC 5(d)(2) and 5.5(d)(2).
    The following guidelines apply to all non−ECF cases:
    All documents filed in this case must comply with the format and copy
requirements of RCFC 5.5 and the signature requirements of RCFC 11. Each filing
must include a Certificate of Service stating that the document was served on every
party, including the day and manner of the service, the person or entity served, and
the method of service employed, e.g., in person or by mail. See RCFC 5.3.
     Counsel for the United States is on notice that no allowance can be made for
filing a document electronically in a case that has not been designated an ECF
case.




1 If the complaint in this action, as originally received in the Clerk's Office, named as a plaintiff a
minor, an incompetent person, or a deceased person, the case caption has been modified to identify as
plaintiff(s) the representative(s) filing on behalf of the minor, incompetent person or deceased person.
2 If the complaint in this action, as originally received in the Clerk's Office, named as the defendant(s)
a party (parties) other than the United States, the case caption has been modified to identify the United
States as the sole defendant. This modification has been made to conform the caption to the Rules of
the United States Court of Federal Claims, which make clear that in this court only the United States
can be named as the party defendant. See RCFC 4(a) and 10(a).
